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FILED

Chief, Public Integrity Section
Criminal Division

 

 

1331 F Street, NW
Washington. 1) C 20530

September 30, 2020

Jeffrey H. Knox William A. Burck

Simpson Thacher & Bartlett LLP Quinn Emanuel Urquhart & Sullivan, LLP
900 G Street NW 1300 I Street NW, Suite 900

Washington, DC 20001 Washington, DC 20005

George Terwilliger
McGuireWoods, LLP

2001 K Strect, NW, Suite 400
Washington, D.C. 20006

Re: United States v. Elliott Broidy
Criminal Case No. 1:20-cr-270 - CK

Dear Counsel:

This letter sets forth the full and complete plea offer to your client, Elliott Broidy
(hereinafter referred to as “your client” or “defendant”), from the Public Integrity Section of the
Department of Justice, Criminal Division (hereinafter also referred to as “the Government” or “this
Office”). This plea offer expires on September 30, 2020. If your client accepts the terms and
conditions of this offer, please have your client execute this document in the space provided below.
Upon receipt of the executed document, this letter will become the Plea Agreement (“this
Agreement”). The terms of the offer are as follows:

L. Charges and Statutory Penalties

Your client agrees to plead guilty to an Information charging your client with Conspiracy
to Serve as an Unregistered Agent of a Foreign Principal, in violation of 18 U.S.C. § 371. Your
client understands that a violation of 18 U.S.C. § 371 has the following elements:

i. an agreement between two or more persons;
ii. to commit an offense or offenses against the United States, in this case to
violate the Foreign Agents Registration Act, 22 U.S.C. § 618(a){1);
ill, with knowledge of the conspiracy and with actual participation in it;

U.S. Department of Justice OCT 20 2020

Corey R. Amundson Clerk, U.S. District and
Bankruptcy Courts
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iv. where one or more of the co-conspirators takes an overt act in furtherance
of the conspiracy.

Your client understands that a violation of 18 U.S.C. § 371 carries a maximum sentence of
five years of imprisonment; a fine of $250,000 or twice the pecuniary gain or loss of the offense,
pursuant to 18 U.S.C. § 3571(b)(3) and (d); a term of supervised release of not more than three
years, pursuant to 18 U.S.C. § 3583(b)(2); an obligation to pay any applicable interest or penalties
on fines and restitution not timely made; and forfeiture as set forth below.

In addition, your client agrees to pay a special assessment of $100 per felony conviction to
the Clerk of the United States District Court for the District of Columbia. Your client also
understands that, pursuant to 18 U.S.C. § 3572 and § SE1.2 of the United States Sentencing
Commission, Guidelines Manual (2018) (hereinafter “Sentencing Guidelines,” “Guidelines,” or
“U.S.S.G.”), the Court may also impose a fine that is sufficient to pay the federal government the
costs of any imprisonment, term of supervised release, and period of probation.

2. Factual Stipulations

Your client agrees that the attached “Statement of Offense” fairly and accurately describes
your client’s actions and involvement in the offense to which your client is pleading guilty. Please
have your client sign and return the Statement of Offense as a written proffer of evidence, along
with this Agreement.

3, Additional Charges

In consideration of your client’s guilty plea to the above offense, your client will not be
further prosecuted criminally by this Office for the conduct set forth in the attached Statement of
Offense or the additional conduct referenced in paragraph 5 below.

4, Sentencing Guidelines Analysis Soo

Your client understands that the sentence in this case will be determined by the Court,
pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a consideration of the applicable
guidelines and policies promulgated by the Sentencing Guidelines. Pursuant to Federal Rule of
Criminal Procedure 11(c)(1)(B), and to assist the Court in determining the appropriate sentence,
the parties agree to the following: ,

With respect to the object offense of 22 U.S.C. § 618(a)(1) (Unregistered Agent in violation
of the Foreign Agents Registration Act (““FARA”)), your client and the Government agree that the
Sentencing Guidelines do not contain a guideline, but call for the use of the most analogous
guideline. U.S.S.G. § 25.1. Under the facts of this case, the parties agree that there is no
sufficiently analogous guideline. Thus, the factors set forth in 18 U.S.C. § 3553(a) shall control
for this object offense, except that any guidelines and policy statements that can be applied
meaningfully shall remain applicable. U.S.S.G. § 2X5.1.
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A. Estimated Criminal History Category

Based upon the information now available to this Office, your client has one prior
misdemeanor conviction.

Accordingly, your client is estimated to have one criminal history point and your client’s
Criminal History Category is estimated to be I (the “Estimated Criminal History Category”). Your
client acknowledges that after the pre-sentence investigation by the United States Probation Office,
a different conclusion regarding your client’s criminal convictions and/or criminal history points
may be reached and your client’s criminal history points may increase or decrease.

B. Estimated Guidelines Range

Based upon the above, there is no estimated Sentencing Guidelines range (the “Estimated
Guidelines Range”). Likewise, pursuant to U.S.S.G. § 5E1.2, there is no estimated Guidelines
range for the applicable fine. Your client reserves the right to ask the Court not to impose any
applicable fine.

Your client understands and acknowledges that the parties’ agreement that no guideline
applies to the offense of conviction is not binding on the Probation Office or the Court. Should
the Court or Probation Office determine that a Guidelines range is applicable, that will not be a
basis for withdrawal or recission of this Agreement by either party.

Your client understands and acknowledges that the terms of this section apply only to
conduct that occurred before the execution of this Agreement.

5. Reservation of Allocution

The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client’s misconduct, including
any misconduct not described in the charge to which your client is pleading guilty, to inform the
presentence report writer and the Court of any relevant facts, to dispute any factual inaccuracies
in the presentence report, and to contest any matters not provided for in this Agreement. In
connection with informing the presentence report writer and the Court of any relevant facts, the
parties agree that the Government will present information relating to your client’s efforts obtain
business from a Middle Eastern country and your client’s efforts to influence U.S. policy towards
a second Middle Eastern country and its alleged support of terrorist activities, and your client has
the right to contest the matter. The parties also reserve the right to address the correctness of any
Sentencing Guidelines calculations determined by the presentence report writer or the Court, even
if those calculations differ from the parties’ agreement that no guideline applies as referenced
herein. In the event that the Court or the presentence report writer considers any Sentencing
Guidelines adjustments, departures, or calculations different from those agreed to and/or estimated
in this Agreement, or contemplates a sentence outside the Guidelines range based upon the general
sentencing factors listed in 18 U.S.C. § 3553(a), the parties reserve the right to answer any related
inquiries from the Court or the presentence report writer and to argue for a sentence within the
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Guidelines range, as ultimately determined by the Court, even if the Guidelines range ultimately
determined by the Court is different from the parties’ agreement that no guideline applies.

In addition, if in this Agreement the Government has agreed to recommend or refrain from
recommending to the Court a particular resolution of any sentencing issue, the Government and
your client reserve the right to full allocution in any post-sentence litigation. The parties retain the
full right of allocution in connection with any post-sentence motion which may be filed in this
matter and/or any proceeding(s) before the Bureau of Prisons. In addition, given that the parties
anticipate that your client’s sentencing will be delayed until his cooperation is concluded, your
client acknowledges that the Government is not obligated and does not intend to file any post-
sentence downward departure motion in this case pursuant to Rule 35(b) of the Federal Rules of
Criminal Procedure.

6. Court Not Bound by this Agreement or the Sentencing Guidelines

Your client understands that the sentence in this case will be imposed in accordance with
18 U.S.C. § 3553(a). Your client further understands that the sentence to be imposed is a matter
solely within the discretion of the Court. Your client acknowledges that the Court is not obligated
to follow any recommendation of the Government at the time of sentencing or to grant a downward
departure or otherwise reduce your client’s sentence under the sentencing factors provided in 18
U.S.C. § 3553(a) based on your clicnt’s substantial assistance to the Government, even if the
Government files a motion or recommends a reduction. Your client understands that the
Government’s recommendation is not binding on the Court.

Your client acknowledges that your client’s entry of a guilty plea to the charged offense
authorizes the Court to impose any sentence, up to and including the statutory maximum sentence.
The Government cannot, and does not, make any promise or representation as to what sentence
your client will receive. Moreover, it is understood that your client wil] have no right to withdraw
your client’s plea of guilty should the Court impose a sentence that does rely on a Guidelines range.
or if the Court does not follow the Government's sentencing recommendation. The Government
and your client will be bound by this Agreement, regardless of thé sentence imposed by the Court.
Any effort by your client to withdraw the guilty plea because of the length of the sentence shall
constitute a breach of this Agreement.

7. Conditions of Release

Your client acknowledges that, although the Government will not seek your client’s
detention pending sentencing, the final decision regarding your client’s bond status or detention
will be made by the Court at the time of your client’s plea of guilty. The Government may move
to change your client’s conditions of release, including requesting that your client be detained
pending sentencing, if your client engages in further criminal conduct prior to sentencing or if the
Government obtains information that it did not possess at the time of your client’s plea of guilty
and that is relevant to whether your client is likely to flee or pose a danger to any person or the
community. Your client also agrees that any violation of your client’s release conditions, any
misconduct by your client, or any inability or failure on the part of your client to continue your
client’s cooperation with the Government, may result in the Government filing an ex parte motion
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with the Court requesting that a bench warrant be issued for your client’s arrest and that your client
be detained without bond while pending sentencing in your client’s case.

8. Cooperation

Your client agrees to cooperate with the Government on the following terms and
conditions:

(a) Your client shall cooperate fully, truthfully, completely and forthrightly
with this Office and other Federal, state and local law enforcement authorities identified by this
Office in any and all matters as to which the Government deems the cooperation relevant. Your
client acknowledges that your client’s cooperation may include, but will not necessarily be limited
to: answering questions; providing sworn written statements; and participating in covert law
enforcement activities. Any refusal by your client to cooperate fully, truthfully, completely and
forthrightly as directed by this Office and other Federal, state and local law enforcement authorities
identified by this Office in any and al] matters in which the Government deems your client’s
assistance relevant will constitute a breach of this Agreement by your client, and will relieve the
Government of its obligations under this Agreement, including, but not limited to, its obligation to
inform this Court of any assistance your client has provided. Your client agrees, however, that
such breach by your client will not constitute a basis for withdrawal of your client’s plea of guilty
or otherwise relieve your client of your client’s obligations under this Agreement.

(b) Your client shall promptly turn over to the Government, or other law
enforcement authorities, or direct such law enforcement authorities to, any and all evidence of
crimes about which your client is aware; all contraband and proceeds of such crimes; and all assets
traceable to the proceeds of such crimes. Your client agrees to the forfeiture of all assets which
are proceeds of crimes or traceable to such proceeds of crimes.

(c) Your client shall submit a full and complete accounting of all your client’s
financial assets, whether such assets are in your client’s name or in the name of a third party.

(d) Your client acknowledges and understands that, during the course of the
cooperation outlined in this Agreement, your client will be interviewed by law enforcement agents
and/or Government attorneys.

(e) Your client shall testify fully, completely and truthfully before any and all
Grand Juries in the District of Columbia and elsewhere, and at any and all trials of cases or other
court proceedings in the District of Columbia and elsewhere, at which your client’s testimony may
be deemed relevant by the Government.

(f) Your client understands and acknowledges that nothing in this Agreement
allows your client to commit any criminal violation of local, state or federal law during the period
of your client’s cooperation with law enforcement authorities or at any time prior to the sentencing
in this case. The commission of a criminal offense during the period of your client’s cooperation
or at any time prior to sentencing will constitute a breach of this Agreement and will relieve the
Government of all of its obligations under this Agreement, including, but not limited to, its
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obligation to inform this Court of any assistance your client has provided. However, your client
acknowledges and agrees that such a breach of this Agreement will not entitle your client to
withdraw your client’s plea of guilty or relieve your client of the obligations under this Agreement.

(g) Your client agrees to abide by any and all release conditions imposed by the
Court.

9. Waivers
A. Statute of Limitations

Your client agrees that, should the conviction following your client’s plea of guilty
pursuant to this Agreement be vacated for any reason, any prosecution, based on the conduct set
forth in the attached Statement of Offense, that is not time-barred by the applicable statute of
limitations on the date of the signing of this Agreement (including any counts that the Government
has agreed not to prosecute or to dismiss at sentencing pursuant to this Agreement) may be
commenced or reinstated against your client, notwithstanding the expiration of the statute of
limitations between the signing of this Agreement and the commencement or reinstatement of such
prosecution. It is the intent of this Agreement to waive all defenses based on the statute of
limitations with respect to any prosecution of conduct set forth in the attached Statement of Offense
that is not time-barred on the date that this Agreement is signed.

B, Trial Rights

Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your
client agrees to forego the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client’s guilty plea. Your client also agrees to waive,
among other rights, the right to plead not guilty, and the right to a jury trial. Ifthere were a jury
trial, your client would have the right to be represented by counsel, to confront and cross-examine
witnesses against your client, to challenge the admissibility of evidence offered against your client,
to compel witnesses to appear for the purpose of testifying and presenting other evidence on your
client’s behalf, and to choose whether to testify. If there were a jury trial and your client chose not
to testify at that trial, your client would have the right to have the jury instructed that your client’s
failure to testify could not be held against your client. Your client would further have the nght to
have the jury instructed that your client is presumed innocent until proven guilty, and that the
burden would be on the United States to prove your client’s guilt beyond a reasonable doubt. If
your client were found guilty after a trial, your client would have the right to appeal your client’s
conviction. Your client understands that the Fifth Amendment to the Constitution of the United
States protects your client from the use of self-incriminating statements in a criminal prosecution.
By entering a plea of guilty, your client knowingly and voluntarily waives or gives up your client’s
right against self-incrimination.

Your client acknowledges discussing with you Rule 11(f) of the Federal Rules of Criminal
Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the admissibility
of statements made by a defendant in the course of plea discussions or plea proceedings if a guilty
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plea is later withdrawn. Your client knowingly and voluntarily waives the rights that arise under
these rules in the event your client withdraws your client’s guilty plea or withdraws from this
Agreement after signing it.

Your client also agrees to waive all constitutional and statutory rights to a speedy sentence
and agrees that the plea of guilty pursuant to this Agreement will be entered at a time decided upon
by the Government with the concurrence of the Court. Your client also agrees that the sentencing
in this case may be delayed until your client’s cooperation has been completed, as determined by
the Government, so that the Court will have the benefit of all relevant information before a
sentence is imposed. Your client understands that the date for sentencing will be set by the Court.

C. Appeal Rights

Your client agrees to waive, insofar as such waiver is permitted by law, the right to appeal
the conviction in this case on any basis, including but not limited to claim(s) that (1) the statute to
which your client is pleading guilty is unconstitutional, and (2) the admitted conduct does not fall
within the scope of the statute. Your client understands that federal law, specifically 18 U.S.C.
§ 3742, affords defendants the right to appeal their sentences in certain circumstances. Your client
also agrees to waive the right to appeal the sentence in this case, including but not limited to any
term of imprisonment, fine, forfeiture, award of restitution, term or condition of supervised release,
authority of the Court to set conditions of release, and the manner in which the sentence was
determined, with the exception of two circumstances: First, if the Court sentences your client
above the statutory maximum, your client retains the right to appeal the sentence and the right to
challenge his sentence in a collateral attack. Second, if the Court determines an applicable
Guidelines range despite the parties’ agreement that no guideline applies to this offense, your client
and the Government retain the right to appeal the sentence and the manner in which it was
determined and your client retains the right to challenge his sentence in a collateral attack. In
agreeing to this waiver, your client is aware that your client’s sentence has yet to be determined
by the Court. Realizing the uncertainty in estimating what sentence the Court ultimately will
impose, your client knowingly and willingly waives your client’s right to appeal the sentence, to
the extent noted above, in exchange for the concessions made by the Government in this
Agreement. Notwithstanding the above agreement to waive the right to appeal the conviction and
sentence, your client retains the right to appeal on the basis of ineffective assistance of counsel,
but not to raise on appeal other issues regarding the conviction or sentence that are waived pursuant
to the above agreement.

D. Collateral Attack

Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to modify or change the sentence or the manner in
which it was determined in any collateral attack, including, but not limited to, a motion brought
under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a
motion is based on newly discovered evidence or on a claim based on the exceptions outlined in
the paragraph above. Your client reserves the right to file a motion brought under 18 U.S.C.
§ 3582(c)(2), but agrees to waive the right to appeal the denial of such a motion.
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E. Witness Fees

Your client further agrees to waive all rights, claims, or interest in any witness fee that your
client may be eligible to receive pursuant to 28 U.S.C. § 1821(b) for your client’s appearance at
any grand jury, witness conference, or court proceeding, during the course of your client’s
cooperation pursuant to this Agreement or any term of your client’s incarceration.

10. Use of Self-Incriminating Information

The Government and your client agree, in accordance with U.S.S.G. § 1B1.8, that the
Government will be free to use against your client for any purpose at the sentencing in this case or
in any related criminal or civil proceedings, any self-incriminating information provided by your
client pursuant to this Agreement or during the course of debriefings conducted in anticipation of
this Agreement and that this Agreement supersedes any prior agreement, including a “proffer”
agreement, of the parties.

ll. Restitution

Your client understands that the Court has an obligation to determine whether, and in what
amount, mandatory restitution applies in this case under 18 U.S.C. § 3663A. Payments of
restitution shall be made to the Clerk of the Court. In order to facilitate the collection of financial
obligations to be imposed in connection with this prosecution, your client agrees to disclose fully
all assets in which your client has any interest or over which your client exercises control, directly
or indirectly, including those held by a spouse, nominee or other third party.

Your client understands and agrees that the restitution or fines imposed by the Court will
be due and payable immediately and subject to immediate enforcement by the United States. If
the Court imposes a schedule of payments, your client understands that the schedule of payments
is merely a minimum schedule of payments and will not be the only method, nor a limitation on
the methods, available to the United States to enforce the criminal judgment. If your client is
sentenced to a term of imprisonment by the Court, your client agrees to participate in the Bureau
of Prisons’ Inmate Financial Responsibility Program, regardless of whether the Court specifically
imposes a schedule of payments. :

Your client certifies that your client has made no transfer of assets in contemplation of this
prosecution for the purpose of evading or defeating financial obligations that are created by this
Agreement and/or that may be imposed by the Court. In addition, your client promises to make
no such transfers in the future until your client has fulfilled the financial obligations under this
Agreement. ,

12. Forfeiture

(a) Your client agrees to a forfeiture money judgment in the amount of $6.6
million, reflecting the proceeds from the offense set forth in the Statement of Offense, pursuant to
a payment schedule to be set no later than the date of sentencing.
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(b) Your client agrees that the proffer of evidence supporting your client’s
guilty plea is sufficient evidence to support this forfeiture. Your client agrees that the Court may
enter a Preliminary Consent Order of Forfeiture for this property at the time of your client’s guilty
plea or at any time before sentencing. Your client agrees that this Order will become final as to
your client when it is issued and will be a part of his sentence pursuant to Federal Rule of Criminal
Procedure 32.2(b)(4)(A).

(c) To satisfy the forfeiture, if your client does not meet the payment schedule
to be set no later than sentencing, your client agrees that this Agreement permits the Government
to seek to forfeit any of your client’s assets, real or personal, that are subject to forfeiture under
any federal statute, whether or not this Agreement specifically identities the asset. Regarding any
asset or property, your client agrees to forfeiture of all interest in: (1) any property, real or personal,
which constitutes or is derived from proceeds traceable to the violation in Count One, to which
your client is pleading guilty; (2) any substitute assets for property otherwise subject to forfeiture.
See Title 18, United States Code, Section 981(a)(1)(C), Title 28, United States Code, Section
2461(c), and Title 2], United States Code, Section 853(p).

(d) If your client does not make payments pursuant to the payment schedule,
your client agrees that the Government may choose in tts sole discretion how it wishes to
accomplish forfeiture of the property whose forfeiture he has consented to in this Agreement,
whether by criminal or civil forfeiture, using judicial or non-judicial forfeiture processes. If the
Government chooses to effect the forfeiture provisions of this Agreement through the criminal
forfeiture process, your client agrees to the entry of orders of forfeiture for such property and
waives the requirements of Federal Rule of Criminal Procedure 32.2 regarding notice of the
forfeiture in the charging instrument, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment. Your client understands that the forfeiture of assets
is part of the sentence that may be imposed in this case, and he waives any failure by the Court to
advise him of this, pursuant to Federal Rule of Criminal Procedure 11(b)(1)(J), at the time of his

guilty plea.

(e) Your client agrees to take all necessary actions to identify all assets over
which your client exercises or exercised control, directly or indirectly, at any time since March
2017 or in which your client has or had during that time any financial interest. Your client agrees
to take all steps as requested by the Government to obtain from any other parties by any lawful
means any records of assets owned at any time by your client. Your client agrees to provide and/or
consent to the release of your client’s tax returns from January 2017 to the present. Your client
agrees to take all steps as requested by the Government to pass clear title to forfeitable interests or
to property to the United States and to testify truthfully in any judicial forfeiture proceeding.

(f) Your client agrees to waive all constitutional and statutory challenges in any
manner (including, but not limited to, direct appeal) to any forfeiture carried out in accordance
with this Agreement on any grounds, including that the forfeiture constitutes an excessive fine or
punishment.

(g) This Office agrees to make a non-binding recommendation to the Money
Laundering and Asset Recovery Section at the Department of Justice that any monies obtained
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from your client through forfeiture be distributed to the victims of the offense in accordance with
any restitution order entered in this case. Your client understands that if this request is denied,
your client will be liable to pay both the restitution and forfeiture judgments. Your client
understands that forfeiture and restitution are separate obligations and that that the Court does not
have the authority to offset them against each other.

13. Breach of Agreement

Your client understands and agrees that, if after entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client’s obligations
under this Agreement, or engages in any criminal activity prior to sentencing, your client will have
breached this Agreement. In the event of such a breach: (a) the Government will be free from its
obligations under this Agreement; (b) your client will not have the right to withdraw the guilty
plea; (c) your client will be fully subject to criminal prosecution for any other crimes, including
perjury and obstruction of justice; (d) no motion pursuant to Section 5K1.1 of the Sentencing
Guidelines or 18 U.S.C. § 3553(c) will be filed or sought; and (c) the Government will be free to
use against your client, directly and indirectly, in any criminal or civil proceeding, all statements
made by your client and any of the information or materials provided by your client, including
such statements, information and materials provided pursuant to this Agreement or during the
course of any debriefings conducted in anticipation of, or after entry of, this Agreement, whether
or not the debriefings were previously characterized as “off-the-rccord” debriefings, and including
your client’s statements made during proceedings before the Court pursuant to Rule 11 of the
Federal Rules of Criminal Procedure.

Your client understands and agrees that the Government shall be required to prove a breach
of this Agreement only by a preponderance of the evidence, except where such breach is based on
a violation of federal, state, or local criminal law, which the Government need prove only by
probable cause in order to establish a breach of this Agreement.

Nothing in this Agreement shall be construed to permit your client to commit perjury, to
make false statements or declarations, to obstruct justice, or to protect your client from prosecution
for any crimes not included within this Agreement or committed by your client after the execution
of this Agreement. Your client understands and agrees that the Government reserves the right to
prosecute your client for any such offenses. Your client further understands that any perjury, false
statements or declarations, or obstruction of justice relating to your client’s obligations under this
Agreement shall constitute a breach of this Agreement. In the event of such a breach, your client
will not be allowed to withdraw your client’s guilty plea.

14. Government’s Obligations

The Government will bring to the Court’s attention at the time of sentencing the nature and
extent of your client’s cooperation or lack of cooperation. If the Court determines an applicable
Guidelines range despite the parties’ agreement that no guideline applies to this offense, the
Government may move the Court to depart from any applicable Guidelines range pursuant to
Section 5K1.1 of the Sentencing Guidelines.

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The Government will evaluate the full nature and extent of your client’s cooperation to
determine whether your client has provided substantial assistance in the investigation or
prosecution of another person who has committed an offense. If the Government determines that
your client has provided such substantial assistance, it shall inform the Court. The determination
of whether your client has provided substantial assistance is within the sole discretion of the
Government and is not reviewable by the Court unless such determination is made in bad faith. In
the event your client should fail to perform specifically and fulfill completely each and every one
of your client’s obligations under this Agreement, the Government will be free from its obligations
under this Agreement, and will have no obligation to make any sentencing recommendation
regarding any cooperation provided by your client.

15. Complete Agreement

No agreements, promises, understandings, or representations have been made by the parties
or their counsel other than those contained in writing herein, nor will any such agreements,
promises, understandings, or representations be made unless committed to writing and signed by
your client, defense counsel, and a representative from the Department of Justice, Criminal
Division’s Public Integrity Section.

Your client further understands that this Agreement is binding only upon the Department
of Justice, Criminal Division and National Security Division, and does not bind any other state,
local, or federal prosecutor. It also does not bar or compromise any civil, tax, or administrative
claim pending or that may be made against your client.

If the foregoing terms and conditions are satisfactory, your client may so indicate by
signing this Agreement and the Statement of Offense, and returning both to me no later than
September 30, 2020.

Sincerely yours,

COREY R. AMUNDSON
Chief, Public Integrity Section
Criminal Division

U.S. Department of Justice

By:  /s/ John D. Keller
John D. Keller
Principal Deputy Chief
Sean F. Mulryne
Deputy Director, Election Crimes Branch
Nicole R. Lockhart
James C. Mann
Trial Attorneys
Public Integrity Section

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DEFENDANT’S ACCEPTANCE

[have read every page of this Agreement and have discussed it with my attorneys, Jeffrey
H. Knox, William A. Burck, and George Terwilliger. I fully understand this Agreement and agree
to it without reservation. I do this voluntarily and of my own free will, intending to be legally
bound. No threats have been made to me nor am | under the influence of anything that could
impede my ability to understand this Agreement fully. I am pleading guilty because I am in fact
guilty of the offense identified in this Agreement.

I reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth in
this Agreement. I am satisfied with the legal services provided by my attomeys in connection with
this Agreement and matters related to it.

Date: 4 30-20 g ok
Thott Broidy

Defendant

ATTORNEYS’ ACKNOWLEDGMENT

I have read every page of this Agreement, reviewed this Agreement with my client, Elliott
Broidy, and fully discussed the provisions of this Agreement with my client. These pages
accurately and completely set forth the entire Agreement. I concur in my client’s desire to plead
guilty as set forth in this Agreement.

       

-30, £0
Date: ? ‘

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